                                  Case 3:22-mj-04181-CDB Document 1 Filed 06/02/22 Page 1 of 4
                 ,.    STATEMENT OF PROBABLE CAUSE                                                                                                                                 CVB Localion Code
                  (For issuance of an arrest warrant or summons)                                                  't d Stat es o·strict
                                                                                                               U me             I       Court

   I state that on _ _ _ _ _ _ _ , 20___ while exercising my duties as a
                                                                                                                     Violation Notice
                                                                                                              Viol ation Number                           Officer Name (Print)
                                                                                                                                                                                I A\Ob       Omcer No.
                                                                                                                                                                                                          I
law enforcement officer in the                             District of _ _ _ _ _ __
                                                                                                                7786004                                    J.      5;f\l\p$O(\                29fJ7                    -........

          5e.~                    t      I                                                                      YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
                                                                                                                                                                                                  o Slate Code
                                                                                                                                                                                                                       -........
                                                                                                                                                                                                                       ex:
                                                                                                              Cale and Time or Offense (mmlddlyyyy)       O!fense Charged rlcFR        o USC                           O'
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                                                                                                              lo/1/20-u., 14Y 5                             3(,      C.F~ l. 3f Cc)                                    C
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                                                                                                              Place or Offense    (,   Ie" Cc. ,., -/ () .., N R.-A
                                                                                                               Vt\~ v-S e.-o. P Lo J ~e. fc..r ki" c. l of
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                                                                                                              Offense Oescriplion: Factu~ Basis for Ch arg e                                                     HAZMA'

                                                                                                                                i' "five," Ce... o-P
                                                                                                                                                               0   C',t, )e.,   1-r
                                                                                              I.
                                                                                                               DEFENDANT INFORMATION
                                                                                                                                                                                                              M.I.    J
                                                                                                                                                                                                                L l_

                                                                                                              City                                        Stale                               Oate of Birth (mm/dQIYYY)

                                                                                                                                  e.                       A7..                                      - I tff(,
                                                                                                              Drivers Lice nGO No.                   COL D




                                                                                                               VEHICLE                 VIN:     NIA                                                                    CMV

                                                                                                              Tag No.                                Stale .



  The foregoing statement is based upori:
                                                                                                                        rv / A                       NIA
                                                                                                               A     ~   IF BOX A IS CHECKED, YOU B
  t5-<)   my personal observation                ~1      my personal investigation                                       MUST APPEAR IN COURT. SEE
                                                                                                                         INSTRUCTIONS (on b3Ck of yellow copy) .

 .¼I      information suppl ied to me from my fellow officer's observation

  D       other (explain above)
                                                                                                                                                                       $
I declare under penalty of perjury thal the information which I have set forth above and on
the face of this violation notice Is true and correct to the best of my knowledge.
                                                                                                                                  PAY THIS AMOUNT-+                  I$                           Total Coll atpr · ,
                                                                                                                                                                                                                      .....
Executed on: _D_(,;;..,/ic..,o......1.:.../2
                                           _6...;l.::...;2._ _-.,c.p;_.:;...~-
                                                                     -- - - - - - -                                                                  YOUR COURT DATE
                      Date (mm/dd/yyyy)        ,-Officer's Signature                                                 (If no court appearance date is shown, you will be notified or your appearance date by mall.)
                                                                                                               Court Ad dress                                                                 Date (mm/dd/yyyy ) , • '
Probable cause has been stated for the issuanc'£l~if!lrf!f~ b y Cam ille o.
                                                                                                       <:                                                                                                                   _,
                                                                                                       --c.
                      Camille D. Bibles
                           Bibl es
Executed on: ______________o_a_te_:_20_2_2_.0_6_.0_2_o_s_:1_s_:1_1_-_o_T_o_o·_
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                                                                                                       N
                                                                                                                                                                                              Time (hh:mm}

                                                                                                       ~
                      Date (mm/dd/yyyy)          U.S. Magistrate Judge
                                                                                                       IS"'    My signature slgnilies that I have re ceived a copy of this violation notice. It is not an admission of ou
                                                                                                       OQ      I promise to appear for the hearing al th e time and place lnslrucled or pay lh e total collateral due_. ..

                                                                                                       "'
HAZMAT = Hazardous malarial involved In incident; PASS= 9 or more possongor vehicle;
COL= Commercial drivers license: CMV = Commercial vehicle Involved In Incident                                                                                                                                        •jf        ~-
                                                                                                       0
                                                                                                   !          · X Defen dant Signature

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                                                                                               Ii
                                                                                                                (Rev. 0912015)                              Original - CVB Copy

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                        STATEMENT OF PROBABLE CAUSE                                                                                                                      CVB location Code
                   (For issuance of an arrest warrant or summons)                                   United States District Court

   I state that o n - - - - - - ~ 20___ while exercising my duties as a
                                                                                                         Violation Notice                                                A/Ol
                                                                                                   Violation Number                            Officer Name (Print)                Officer No.


                                                                                                                     ~ ,'r"'-+-----'------..
law enforcement officer in the           District of _ _ _ _ _ __
                                                                                                   ___________
                                                                                                    7786005   .._:f.
                                                                                                                 ____         $0" 2 9b 7     ,
                                                                                                     YOU ARE CHARGED WITH THE FOLLOWING VIOLATION                                                            O
                                                                                                   Dale and Time of Offense (mm/ddlyyyy)      Offense Chaiged         · CFR   a   USC   a   Slate Code       0
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                                                                                                                \e, I'\ (. o. ,. '/ OI\ N R,. A•
                                                                                                   Place or Offense (,.
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                                                                                                                                      Le


                                                                                                    DEFENDANT INFORMATION                                  Phone: (

                                                                                                   Last Name                                                                                       M.1 .

                                                                                                                                                                                                     L~..

                                                                                                   City                                        Slate                                Date or Birth (rnm/ddJYm



                                                                                                   Drivers License No.



                                                                                                                                                                                                           Wei9ht
                                                                                                   -~ n uul\ D Juven\le     Sex
                                                                                                                                                                                                            / 9C
                                                                                                                                                                                                             CMV

                                                                                                   Tag No.                                                                                     Color

                                                                                                                                                                                                  [V"
 The foregoing statement is based upon:
         my personal observation                       CJ     my personal investigation
                                                                                                              INSl'RUCTIONS (on bxk of yellow copy),
 O       Information supplied to me from my fellow officer's observation
 O       other (explain above)
                                                                                                                                                              $
I declal e under penalty of perjury that the Information which I have set forth above and on
the face of this violation notice is true and correct to the best of my knowledge.
                                                                                                                      PAY THIS AMOUNT-+                      I$
                                                                                                                                         YOUR COURT DATE
                                                                                                          (I f no court appeara nce date is shown, you win be nolified of your appearance dale by mail.)

                                                                                               <   Court Address
Probable cause has been stated for the issuance of a warran t.                                 ~


Executed on:
             Cami 11 e D. Bib Ies Dig itally sig ned by Ca":' ille D 'Bi~les
                                  Date. 2022.06.02 05 .1 7.49 -07 oo
                                                                                                                                                                                    Time (hh:mm)


                     Date (mm/dd/yyyy)                U.S. Magistrate Judge
                                                                                                   My signature !lignifies th at I have received a copy of this vio lation notice. It is not an admis!iion of gul
                                                                                                   \ promise \o appear for \he hearing a\ tho \Imo and place lnslrucled or pay \he Iota! collateral due.
HAZMAT   = Hazardous material involved In incident;   PASS = 9 or mOfe passenger vehicle;
COL = Commercial drivers license; CMV = Commercial vehicle Involved in incident                                                                                                                              ~   u
                                                                                                   ·x   Defendant Signature

                                                                                                     (Rev. 0912015)                             Original - CVB Copy
                                                                                                                                                       '

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          STATEMENT OF PROBABLE CAUSE                                 told him that BEGAY had been fighting with his nephew, and had
            (For issuance of an arrest warrant or summons)            to physically restrain his nephew because his nephew wanted to
                                                                      fi ght and was upset. BEGAY stated he "pushed his nephew
I state that on June 1, 2022 while exercising my duties as a law      down and had to hold him down to calm him down". Rang er
enforcement officer in the        District of Arizona                 Gries then informed me that they had done a Portable Breath
 At approximately 1421 I received a call for service from dispatch    Test (PBT) on BEGAY, and BEGAY blew a .155 BrAC on the
 regarding two intoxicated individuals sitting in a maroon truck at   PST indicating the presence of alcohol in his system . BEGAY
 the Wahweap lodge parking lot. I responded from the District         also told Ranger Gries that he had been dri nking that day,
 Ranger Office with Ranger Castel lucci, and we arrived on scene      stating that he had just ·a little bit but not too much". BEGAY
 at the Wahweap lodge parking lot at 1429. Upon arrival, I            stated that his nephew, identified as Arundel Orosco, had also
 observed two individuals, later identified as Josephine Thomas       been drinking . As the nephew approached , blood and scratches
 and Michael Yazzia by driver's license and word of mouth, sitting    were observed on his face, head , and elbows.
front passenger and rear passenger seats of the veh icle . I
approached the passenger side of the vehicle where Thomas             While on scene, Ranger Gries identified BEGAY verbally and ran
was sitting and smelled a distinct and strong odor of alcohol and     a warrant check through dispatch on BEGAY. Dispatch
 marijuana coming from inside the vehicle. Ranger Castellucci         confirmed his identify through the use of phys ical descriptors and
observed a marijuana pipe and asked them to step out of the           informed Ranger Gries that BEGAY had a warrant out for his
vehicle. When asked by Ranger Castel lucci where they were            arrest in Page, AZ. Ranger Gries confirmed the warrant through
coming from, Thomas responded New Mexico. Ranger                      dispatch . At 1516, Ranger Gries and I placed BEGAY under
Castellucci also asked who they were with and if they had been        arrest for Under the influence of alcohol; danger to oneself or
driving the vehicle. Thomas stated that they had not been             others and Disorderly conduct; fighting . BEGAY was transported
driving, and that their brother Edison BEGAY, was the driver.         to Coconino County Jail and processed.
Thomas stated that they were also w ith their nephew. Thomas
and Yazzia were unable to state who their nephew was, Yazzia          Pending charges for BEGAY:
stating that they had "just barely met him". Ranger Castellucci       36 CFR 2.34(a)(1) Disorderly Conduct- Fighting, violent behavior
then had both Thomas and Yazzia exit the vehicle. I obtained a        (V#7786005)
drivers license from Thomas, and verbally identified Yazzia by
name and date of birth. Both Yazzia and Thomas were both              36 CFR 36 CFR 2.35(c) Under the influence of alcohol to a
cleared by dispatch. Ranger Castellucci asked Yazzia and              degree of danger to oneself or others (V#7786004)
Thomas where their brother and nephew were located. They
replied that they did not know, and that he had told them to stay     Location Code:A 103          22-1119/NP22136860
in the truck as he walked off. They informed us he was wearing a
red shirt and pointed the direction in wh ich he had walked which
was down by the swim beach area east of the lodge.                    The foregoing statement is based upon :
                                                                      C8] my persona l observation [81 my personal investigati on
Ranger Gries arrived on scene and began questioning Thomas            C8] information supplied to me from my fellow officer's observation
and Yazzia regard ing the location of BEGAY and they both             D   other (explain above)
confirmed that he was wearing a red shirt. During this time, I
continued observing Yazzia and Thomas. Ranger Gries then              I declare under penalty of perjury that the information which I have set
observed two males, one with a red shirt, walking up from the         forth above and on the face of this violation notice is true and correct to
swim beach area, and stated to Ranger Castelluci and I that the       the best of my knowledge.
individuals appeared to be in an intoxicated state. The individual
with the red shirt, later identified as Edison BEGAY by word of
mouth, approached Ranger Gries from the beach area first.             Executed on:      0 (,/o I i'..O"Z.Z.
Ranger Gries and Ranger Castellucci observed that BEGAY                                 Date (mmldd/yyyy)
smelled strongly of an alcoholic beverage and had blood and
scratches on his body. Ranger Gries informed me that BEGAY            Probable cause has been stated for the issuance of a warrant.
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              Cami 11 e D.                   Dig itally signed by Camille
                                                                                      J
                                             D. Bibles
              8 jbIes                          Date: 2022.06.02 05 :17:13
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                                                      '0..:.0_'_ _ __                 •
                Date (mm/dd/yyyy)           U.S. Magistrate Judge
